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                  IN THE UNITED STATES DISTRICT COURT FOR
                        THE SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION


UNITED STATES OF AMERICA


V.                                                      CASE NO. CR419-069


CRAIG GERMAN,

       Defendant.




                                         ORDER


       Before     the    Court    is    Defendant       Craig    German's       Motion      for

Home Confinement {Doc. 267), which the Government opposes (Doc.

268). For the following reasons. Defendant's Motion (Doc. 267)

is DISMISSED.


                                        BACKGROUND


       In September 2019, Defendant pleaded guilty to one count of

conspiracy to steal trade secrets, in violation of 18 U.S.C.

§ 1832(a)(5).       (Doc.      110.)     Defendant      was     sentenced      to    a   total

term of 70 months' imprisonment. (Doc. 207 at 2.) According to

the Bureau of Prison's (BOP) website. Defendant is currently not

in BOP custody^ and has a projected release date of March 12,

2025.     See     BOP    Inmate     Locator,        Federal      Bureau       of    Prisons,

https://www.bop.gov/inmateloc/                  (last    visited       on     October       19,

2020).


1   Defendant   filed   this   motion   while   incarcerated    at   FCI   Butner   in   Butner,
North Carolina. (Doc. 267 at 2.) According to representatives at the BOP,
Defendant is currently in the custody of the United States Marshalls Service
in the Southern District of Georgia due to proceedings in a separate criminal
case. (Doc. 268 at 1 n.l.)
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                                        ANALYSIS


        Defendant   seeks    to    serve    the    remainder      of    his    sentence     on


home confinement due to the COVID-19 pandemic. (Doc. 267 at 1.)

The    Government     opposes       Defendant's         request.       (Doc.     268.)     The

Court finds that Defendant's motion seeking home confinement is

due to be dismissed.


       A request for home confinement under the Coronavirus Aid,

Relief,    and    Economic       Security    Act    (''CARES     Act"),        Pub.   L.   No.

116-136, enacted on March 27, 2020, is different than a request

for sentence reduction based upon compassionate release. Under

Section    12003(b)(2) of the             CARES   Act,    if the Attorney General

finds     that    emergency       conditions       will       materially        affect     the

functioning of the BOP, the BOP is permitted to "lengthen the

maximum    amount   of time       for   which     the    Director is      authorized       to


place a prisoner in home confinement under the first sentence of

section     3624(c)(2)      of     title    18,    United       States    Code,       as   the

Director     determines     appropriate." United               States     v.    Allen,     No.

2:14-cr-024, 2020 WL 2199626, at *1 n.l (S.D. Ga. May 6, 2020).

Thus,       the     BOP       is        utilizing         its      authority             under

18 U.S.C. § 3624(c)(2)              and      34         U.S.C.     § 60541-not             the

compassionate       release        provision       of     18     U.S.C.       § 3582(c)—to

effectuate the Attorney General's directive to the BOP regarding

home    confinement    in    connection      with       the    CARES   Act.     Id.   at   *1.

This Court lacks the authority to order the BOP to release a
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prisoner on home confinement. See United States v. Calderon, F.

App'x     730,     731   (11th   Cir.     2020)    (explaining    that       under

34 U.S.C. §      60541(g)(1)(A)     the   Attorney   General "may" release

eligible    elderly      offenders,     and   district   court    was    without

jurisdiction to grant relief); see also Allen, 2020 WL 2199626,

at *1 ("These statutes do not authorize a federal court to order

the BOP to release a prisoner."); United States v. Greene, No.

CR 116-056, 2020 WL 3316987, at *1 (S.D. Ga. June 18, 2020).

Thus, to the        extent   Defendant is     seeking    an   order   from   this

Court    placing    him on   home     confinement.   Defendant's motion is

DISMISSED.


                                    CONCLUSION


        Accordingly, Defendant's Motion for Home Confinement (Doc.

267) is DISMISSED.

        SO ORDERED this '^^day of October 2020.


                                      WILLIAM T. MOORE, JR.
                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN    DISTRICT OF GEORGIA
